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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

 THE TENNESSEE WALKING HORSE
 NATIONAL CELEBRATION
 ASSOCIATION, et al.,

             Plaintiffs,

 v.                                                           2:24-CV-143-Z

 UNITED STATES DEPARTMENT
 OF AGRICULTURE, et al.,

             Defendants.

                                              ORDER

         Before the Court is Defendants’ Consent Motion to Extend Answer Deadline (“Motion”)

(ECF No. 11), filed August 30, 2024. Defendants’ current answer deadline is September 6, 2024, and

they request that the Court extend that deadline “to 30 days following the Court’s resolution of the

parties’ anticipated cross-motions for summary judgment.” ECF No. 11 at 1. All parties agree that

Plaintiff's claims “are properly resolved on cross-motions for summary judgment on the basis of the

administrative record ... .” Jd. Defendants’ Motion is GRANTED.

         Defendants are ORDERED to file an answer within thirty (30) days after this Court rules on

any cross-motions for summary judgment that the parties submit to this Court.

         The parties are FURTHER      ORDERED       to submit a proposed scheduling order for the

resolution of this case to the Court by Friday, September 20, 2024.

         SO ORDERED.
         September 23, 2024                               Vi                CT

                                                       MATHEW J. KACSMARYK
                                                       UNITED STATES DISTRICT JUDGE
